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       Attorney(s) for Rothschild Broadcast Distribution Systems, LLC
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   7
                       IN THE UNITED STATES DISTRICT COURT
   8                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
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  10
        ROTHSCHILD BROADCAST
        DISTRIBUTION SYSTEMS, LLC,                   CASE NO.: 8:21-cv-01539-CJC-DFM
  11
                           Plaintiff,
  12                                                 NOTICE OF VOLUNTARY
        v.                                           DISMISSAL WITHOUT
  13
                                                     PREJUDICE
  14    ARCULES, INC.,

  15                       Defendant.
  16

  17         Plaintiff Rothschild Broadcast Distribution Systems, LLC (“Plaintiff” and/or
  18   “RBDS”) files this Notice of Voluntary Dismissal Without Prejudice pursuant to
  19   Federal Rule of Civil Procedure 41(a)(1)(A)(i). According to Rule 41(a)(1)(A)(i), an
  20   action may be dismissed by the plaintiff without order of court by filing a notice of
  21   dismissal at any time before service by the adverse party of an answer. Accordingly,
  22   Plaintiff hereby voluntarily dismisses this action against Defendant Arcules, Inc.
  23   without prejudice, pursuant to Rule 41(a)(1)(A)(i) with each party to bear its own fees
  24   and costs.
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                         NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
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   1   Dated: November 16, 2021             Respectfully submitted,
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                                            /s/Stephen M. Lobbin
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   8                                        Attorney(s) for Plaintiff Rothschild
                                            Broadcast Distribution Systems, LLC
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  10                            CERTIFICATE OF SERVICE

  11          I hereby certify that on November 16, 2021, I electronically transmitted the
  12   foregoing document using the CM/ECF system for filing, which will transmit the
       document electronically to all registered participants as identified on the Notice of
  13   Electronic Filing, and paper copies have been served on those indicated as non-
  14   registered participants.
                                             /s/Stephen M. Lobbin
  15                                         Stephen M. Lobbin
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                         NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
